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Inner City Press

March 10, 2021
By E-mail to RakoffNYSDChambers@nysd.uscourts.gov

Hon. Jed S. Rakoff, United States District Judge
Southern District of New York, 500 Peart Street New York, NY 10007

Re: Press Access to improperly redacted documents & exhibits in US v. Weigand, et al.,20-cr-120 (JSR)
Dear Judge Rakoff:

This concerns, in the above-captioned criminal case, redactions to the Government's submission dated
March 8, 2021, filed March 9 as Docket Number 224, and exhibits that have now been entered into
evidence in the case.

The Government's March 2\8, 2021 submission, Docket Number 253, without explanation or
justification redacted whole paragraphs, in one case leaving in only the punctuation.

Covering the trial for Inner City Press, I emailed the US Attorney's Office Press Office both Monday
and yesterday asking that they at least make available the exhibits they have entered into evidence in the
trial.

Having as yet received no response - it is entirely possible that the Office is busy, for example, with
Capitol / January 6 Rule 5 proceedings - this is also a request that the Court, to further public and press
access, direct the US Attorney's Office to make its exhibit available as it did such cases of US v. Scott
(OneCoin) before Judge Ramos (a figure in which, Gilbert Armenta, has been mentioned in this trial by
witness Oliver Hargreaves), on US AfX along with CAC / PIV card, password or otherwise.

There are similar unjustified redactions in the Government's submission of February 16, Docket Number
170 (to Exhibit B, labeled Government Exhibit 1684). These are, needless to say, judicial documents
within the mention of United States v, Aref, 533 F.3d 72, 81-83 (2d Cir. 2008) and Lugosch v. Pyramid
Co., 435 F.3d 110 (2d Cir. 2006) - they should be made available.

Please confirm receipt of and docket this application, and thank you for your attention to it,
Respectfully submitted,
Matthew Russell Lee, Inner City Press

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